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 7                                UNITED STATES DISTRICT COURT

 8                            NORTHERN DISTRICT OF CALIFORNIA

 9

10                                                        Case No.: 4:22-md-03047-YGR

11    IN RE: Social Media Adolescent                      MDL No. 3047
      Addiction/Personal Injury Products Liability
12    Litigation                                          Honorable Yvonne Gonzalez Rogers
                                                          Honorable Peter H. Kang
13

14                                                        STIPULATION AND [PROPOSED]
                                                          ORDER GOVERNING PROTOCOL
15    This document relates to:                           FOR FACT DEPOSITIONS AND RULE
                                                          30(B)(6)/PMQ DEPOSITIONS
16                          ALL ACTIONS
17

18

19          This Stipulation and Order Governing Protocol for Fact Depositions and Rule

20   30(b)(6)/PMQ Depositions (“Order”) shall govern the conduct of fact as well as Fed. R. Civ. P.

21   30(b)(6)/PMQ depositions for all cases 1 currently in MDL No. 3047 (“MDL”) and hereafter

22   added or transferred to MDL No. 3047, all cases currently in California JCCP No. 5255 (“JCCP”)

23   and hereafter added or transferred to JCCP No. 5255, and any deposition that is originally noticed

24   in the MDL or JCCP and cross-noticed by parties in Related Actions. 2 Terms relating to cross-

25   noticed depositions are further addressed in Section II.H of this Order.

26   1
       Unless otherwise specified in this Order, “cases” and “action” include those cases filed on
     behalf of individuals, Local Government and School Districts, and State Attorneys General in the
27   MDL and JCCP.
     2
       For purposes of this Order, “Related Actions” are identified in Appendices A, B, C, and D
28   which may be modified or supplemented as needed pursuant to Section IV.1.

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 1          All Plaintiffs 3 and Defendants in the MDL and JCCP (collectively, the “Parties,” or where

 2   singular, the “Party”) will submit modified protocols for expert depositions at a later time.

 3   I.     GENERAL OBJECTIONS
 4          A.      Cooperation
 5   1.     Counsel are expected to adhere to the Northern District of California Guidelines for

 6   Professional Conduct, Section 9. Discovery (As to Depositions) (the “Guidelines”).

 7   2.     Plaintiffs’ MDL Counsel shall coordinate the scheduling of depositions with Plaintiffs’

 8   JCCP Counsel to avoid duplicative discovery, including in non-case-specific fact and corporate

 9   witness depositions. Plaintiffs’ MDL and JCCP Counsel shall also make reasonable efforts

10   through the meet and confer process to coordinate the scheduling of any cross-noticed depositions

11   with counsel for plaintiffs in Related Actions.

12          B.      Attendance
13          1.      Who May be Present. Unless otherwise ordered under Fed. R. Civ. P. 26(c), and

14   subject to the provisions of the Protective Order in this MDL (see Doc. 586) (the “Protective

15   Order”), depositions may be attended by members of the Court-appointed Plaintiffs’ Leadership,

16   the State Attorneys General, and employees of their firms/offices or their designees, Counsel of

17   record in any proceeding in which the deposition is cross-noticed, members and employees of

18   their firms, attorneys specially engaged by a Defendant or Plaintiffs for purposes of the

19   deposition, the Parties or the representative of each respective Party (including in-house Counsel),

20   any person who is assisting a Party and whose presence is reasonably required by the

21   aforementioned Counsel of record (such as a consulting expert), court reporters, videographers,

22   document technicians, court interpreters, the deponent, and Counsel for the deponent.

23          2.      Notwithstanding any other provision in this Order, Counsel may not attend a

24   deposition of a Party, or of a current or former employee of a Party, unless they are Counsel of

25   record in an action or cross-noticed action in which that Party is a named Plaintiff or Defendant,

26   without that Party’s consent. Absent agreement, a State Attorney General may not attend a

27
     3
      Unless otherwise specified in this Order, “Plaintiffs” include all individuals, Local Government
28   and School Districts, and State Attorneys General that have filed cases in the MDL or JCCP.

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 1   deposition of a Defendant, or of a current or former employee of that Defendant, if the Defendant

 2   is not a named Party in an action brought by that State Attorney General, and Defendants and

 3   Plaintiffs who are not Parties in an action brought by a State Attorney General may not attend a

 4   deposition noticed by a Defendant in that State Attorney General’s case. No deposition or a part

 5   of a deposition from which a Party is excluded pursuant to this provision may be used against that

 6   Party in the MDL or JCCP.

 7          3.      As an exception, a State Attorney General may attend the deposition of any former

 8   employee of a Defendant that it has named as a Party in an action brought by that State Attorney

 9   General, even if that employee has been or is currently employed by a Defendant that the State

10   Attorney General has not so named.

11          4.      Unnecessary Attendance. Unnecessary attendance by Counsel is discouraged and

12   may not be compensated in any fee application to the Court. Counsel who have only marginal

13   interest in a proposed deposition or who expect their interests to be adequately represented by

14   other Counsel should elect not to attend but may exercise an option to observe a deposition

15   remotely to the extent practicable.

16   5.     Notice of Intent to Attend a Deposition. In order to make arrangements for adequate

17   deposition space and logistics, Counsel for each Party shall confer regarding the expected in-

18   person attendance in advance of the deposition. Specifically, absent agreement by the Parties, at

19   least seven (7) days prior to a deposition, all Parties shall inform the person(s) hosting the

20   deposition of the number of expected in-person attendees, and shall provide the identity of any in-

21   person attendees at least two (2) business days prior to the deposition with the understanding that

22   such names are provided in good faith and could be subject to change.

23   II.    CONDUCT OF DEPOSITIONS
24          A.      Examination
25          1.      Counsel for the Noticing Party or Parties shall confer prior to the deposition

26   concerning allocation of time to examine a deponent. To the extent a deposition in this action is

27   cross-noticed in any state court or other federal court proceedings, including California JCCP No.

28   5255, those attorneys representing Parties in the cross-noticed cases that are not in the MDL or

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 1   JCCP may also examine the witness, but Counsel for the Noticing Party or Parties shall make

 2   efforts to coordinate as to who examines the deponent and attends, including allocation of time to

 3   depose the witness.

 4          2.      For each deposition, Plaintiffs may designate up to three examining attorneys,

 5   including no more than one such attorney representing Plaintiffs in the MDL; no more than one

 6   such attorney representing Plaintiffs in California JCCP No. 5255; and for witnesses relating to

 7   the claims of the State Attorneys General in the MDL (including witnesses associated with

 8   Defendants sued by the State Attorneys General and third-party witnesses), no more than one

 9   such attorney representing State Attorneys General in the MDL. Only one examiner may address

10   the deponent at a time, and subsequent examiners shall make best efforts not to repeat the same or

11   substantially the same question asked by earlier Counsel. The primary examining attorneys for

12   Plaintiffs described in this paragraph may change from deposition to deposition.

13          3.      Each named Defendant may designate one (1) primary defending or examining

14   attorney per Defendant per deposition to the extent practical. That primary defending or

15   examining attorney for the named Defendant may change from deposition to deposition.

16          4.      A witness may be deposed in their individual capacity only once across the MDL

17   and JCCP, unless otherwise agreed to by the Parties in writing, or authorized by an order of the

18   Court upon a showing of good cause by the Party seeking the additional deposition. For cross-

19   noticed depositions involving parties in Related Actions, the Parties shall meet and confer in good

20   faith to coordinate with each other and with counsel for parties in the Related Actions regarding

21   the scheduling of depositions to minimize the number of times a witness shall appear for

22   deposition. The MDL/JCCP Party receiving notice of a deposition in a Related Action shall

23   provide counsel for such outside parties in Related Actions with a copy of this Order and any

24   other applicable Orders within five (5) days of receiving notice of the deposition.

25          B.      Examination of Third-Party Witness
26          1.      The Federal Rules of Civil Procedure shall govern the depositions of third-party

27   witnesses unless otherwise stated in this Order or agreed-to by the Parties and the third-party

28   witness. The Parties shall confer prior to the deposition concerning allocation of time to examine

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 1   the third-party witness. To avoid unnecessary disputes, the default assumption should be that the

 2   7-hour time limit of Fed. R. Civ. P. 30(d)(1) governs the deposition of third-party witnesses, but

 3   for third-party witnesses applicable to the bellwether cases, which shall be governed by the

 4   Court’s Discovery Limits Order. Parties should reserve time for re-cross and re-direct to avoid

 5   exceeding these time limits. The time limit does not include time spent in questioning by the

 6   third-party’s defending attorney. A copy of this Order shall be attached to each third-party

 7   subpoena issued or served in this action’s proceedings requesting deposition testimony.

 8          C.      Duration
 9          1.      Absent agreement of the Parties or order of this Court based on a showing of good

10   cause, a deposition shall be limited to the time and other parameters set forth in the Court’s

11   Discovery Limits Order.

12          2.      After questioning by the Noticing Party or any other Party permitted to ask

13   questions pursuant to this Order, the Party defending the deposition may elect to question the

14   deponent. Other non-noticing Parties from the defending side may also elect to question the

15   deponent. If the defending Party elects to question the deponent, then the Noticing Party shall be

16   entitled to perform re-cross examination, which shall be limited in scope to the matters covered

17   by the defending Party. Following any re-cross examination, the Party defending the deposition

18   shall be entitled to perform re-direct examination, which shall be limited in scope to the matters

19   covered by the Noticing Party on re-cross examination. All time spent questioning the deponent

20   by the Noticing Party or other Party designated to examine the deponent shall count toward that

21   Party’s per-deposition and cumulative time limits as set forth in the Court’s Discovery Limits

22   Order. All time spent questioning the deponent by the defending Party (and those aligned with the

23   defending Party) shall not count toward the per-deposition or cumulative time limits, but such

24   Parties shall use best efforts to be efficient in their questioning of the deponent.

25          3.      At the deponent’s election, any deposition may be adjourned after seven hours on

26   the record, or as otherwise agreed to by the Parties. The Parties will use best efforts to complete

27   all direct, redirect, and re-cross examination on the same day. If a deposition is adjourned

28   pursuant to this provision, the deposition will continue the following day to the extent practical

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 1   for the deponent and Counsel.

 2           D.      Means of Recording
 3           1.      Stenographic Recording. A certified court reporter shall stenographically record all

 4   deposition proceedings and testimony with “real-time feed” capabilities. The court reporter shall

 5   administer the oath or affirmation to the deponent. A written transcript by the court reporter shall

 6   constitute the official record of the deposition for purposes of Fed. R. Civ. P. 30(e) and similar

 7   state court rules addressing filing, retention, certification and the like.

 8           2.      Witnesses will have the opportunity to review transcripts and provide a statement

 9   of errata changes if they so choose, in accordance with Fed. R. Civ. P. 30(e). The deponent shall

10   submit the errata sheet and Parties will submit confidentiality designations to the court reporter

11   within forty-five (45) days of the deponent’s, or their Counsel’s, receipt of the final transcript,

12   whichever is earlier. The court reporter shall serve copies of the errata sheet and confidentiality

13   designations on all Parties purchasing the transcript. The Parties may, upon agreement, modify

14   this requirement as may be necessary. Any modification shall be placed on the record at the

15   deposition or in writing. If no corrections are made within forty-five (45) days after receipt of the

16   final transcript from the court reporter, and if good cause is not shown for an extension of the

17   forty-five (45) days’ limitation, the Parties shall have the right to use a certified copy of the

18   transcript in any further proceedings as though the copy were the original transcript.

19           3.      The Noticing Party shall bear the expense of stenographic recording, video

20   recording (except as provided in Section II.N), and any applicable witness fees. Any Party

21   attending a deposition may, at their own expense, request a Real Time transcript directly from the

22   Court Reporter.

23           4.      Subject to the terms of the Protective Order, any Party to an action whose

24   attendance is permitted at a deposition under Section I.B may, at its own expense, obtain a copy

25   of the audio/video files and the stenographic transcript of that deposition by contacting the court

26   reporter.

27           E.      Scheduling
28           1.      Each deposition notice shall include the name, address, email address, and

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 1   telephone number of an attorney point of contact designated by the Noticing Party or side as well

 2   as the date, time, and place of the deposition. The Noticing Party shall confer reasonably in

 3   advance of the deposition with opposing Counsel and unrepresented proposed deponents to

 4   schedule depositions at mutually convenient times and places. Unless otherwise agreed by the

 5   Parties or ordered by the Court, the deposition notice shall be served no less than thirty (30) days

 6   prior to a deposition scheduled in accordance with Section D of the Court’s Standing Order for

 7   Discovery in Civil Cases; said notice shall not be filed on the Court docket.

 8          2.      After noticing a deposition of a Party or a non-party, the Noticing Party must

 9   confer about the scheduling of the deposition with opposing Counsel in the event the noticed date,

10   time, and location are not mutually convenient. If the noticed date is unworkable for the witness

11   or their Counsel, Counsel for the witness shall, within ten (10) days of receipt of the notice,

12   provide alternative dates within thirty (30) days of the noticed date, in accordance with Section D

13   of the Court’s Standing Order for Discovery in Civil Cases. To facilitate scheduling, the witness

14   or their Counsel shall provide three (3) alternative dates within ten (10) days of receipt of the

15   notice. If the time or place of the deposition changes after conferring, the Noticing Party will

16   serve an amended notice of deposition.

17          3.      For in-person depositions, absent agreement by the Parties, the Defending Party

18   will be responsible for arranging a deposition venue within reasonable proximity to the city in

19   which the deponent resides or works, or as otherwise agreed to by the Parties. If the deponent is a

20   Plaintiff or Plaintiff-affiliated witness, then the Plaintiff gets to choose the deposition venue

21   (presumably, offices of Plaintiffs’ Counsel). If the deponent is a Defendant or Defendant-

22   affiliated witness, then the Defendant gets to choose the deposition venue (presumably, offices of

23   Defendant’s Counsel). The Defending Party will bear the costs associated with the use of the

24   deposition space at the selected venue. The venue must include a main deposition room and a

25   breakout room for the examining Party’s Counsel. The Party noticing a deposition has the option

26   to notice an in-person or virtual deposition. The Parties will meet and confer regarding the service

27   to be used to host virtual depositions.

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 1           F.       Deposition Day

 2           1.       To the extent the Parties cannot reach agreement regarding scheduling of

 3   depositions pursuant to the terms of this Order or Section D of the Court’s Standing Order for

 4   Discovery in Civil Cases, the Party resisting the deposition shall move for a protective order or

 5   other relief pursuant to the Federal Rules of Civil Procedure and Local Rules.

 6   2.      The Court expects Counsel to mutually agree upon deposition locations. In the absence of

 7   agreement, depositions of witnesses located in the United States will take place in the deponent’s

 8   home district.

 9           G.       Interpreters

10           1.       Where a witness indicates their intention to respond to questions in a language

11   other than English, interpreters will be selected by the Party for the witness to interpret and

12   translate between the foreign language and English. Multiple interpreters may be employed to

13   allow for rotation of interpreters, and nothing shall prevent the non-witness Party from retaining

14   their own interpreter to attend the deposition for purpose of verifying the interpretation or

15   translation provided by the interpreter. Each interpreter will swear under oath or affirm prior to

16   each deposition to provide honest and truthful translations and to sign the Acknowledgement and

17   Agreement to be Bound attached as Exhibit A to the Protective Order. A monitor displaying

18   “real-time” transcription will be placed in front of the interpreters to assist in the translation.

19           2.       Counsel defending a deposition will notify Counsel for the Party noticing the

20   deposition at least fifteen (15) days in advance of the deposition if the witness will require the

21   services of an interpreter. Subject to their being informed of the terms of this Order, Counsel for

22   third-party witnesses will notify Counsel for the Party noticing the deposition at least fifteen (15)

23   days in advance of the deposition that the examination will require the services of an interpreter.

24   In the event the Noticing Party receives such a notice from a third party or his/her Counsel, then

25   the Noticing Party shall inform the non-noticing side within twenty-four (24) hours of receiving

26   such notice.

27           3.       Defendants and Plaintiffs who participated in the deposition will share the fees and

28   costs of the interpreters equally between the two sides.

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 1             4.   Objections as to the accuracy of any translations of deposition testimony shall be

 2   reserved.

 3             H.   Cross-Noticing
 4             1.   To ensure efficiency, the Parties in the MDL, JCCP, or any other Related Action

 5   may be permitted to cross-notice and attend depositions (except as otherwise provided herein),

 6   regardless of whether the deposition was originally noticed in the MDL, JCCP, or in any Related

 7   Action.

 8             2.   Defendants shall provide notice to Plaintiffs’ Counsel of any deposition of one of

 9   their current or former employees that has been noticed to take place in a Related Action within

10   five (5) days of Defendants receiving notice.

11             3.   Upon notice from Defendants, Plaintiffs will have twenty-one (21) days to decide

12   whether to cross-notice a deposition into this MDL. If Plaintiffs cross-notice such a deposition,

13   the individual and cumulative time limits for depositions apply to that cross-noticed deposition. If

14   Plaintiffs do not cross-notice the deposition of a witness in a Related Proceeding but later elect to

15   depose that witness in the MDL or JCCP, the Parties shall first meet and confer to determine

16   whether the party defending the witness consents. If the defending Party does not consent to the

17   witness’s re-deposition, the Parties shall follow the dispute resolution procedures in the Court’s

18   Standing Order for Discovery. If, after completing all meet and confers to try to resolve any such

19   dispute, the dispute remains unresolved, the Parties shall file a Joint Discovery Letter to this

20   Court regarding the dispute pursuant to the Court’s Standing Order for Discovery, in which both

21   Parties shall address whether or not there is good cause for such leave to be granted, and whether

22   or not there is good cause for the Court to grant a protective order barring Plaintiffs from re-

23   deposing such witness.

24             4.   For depositions originating outside the MDL or JCCP that are cross-noticed by

25   Parties in the MDL or JCCP, any time used by an MDL/JCCP Party questioning the witness in

26   that cross-noticed deposition shall count toward that Party’s per-deposition and cumulative time

27   limits agreed to or as set forth in this Court’s Discovery Limits Order.

28             5.   The time limits will not apply to non-parties to the MDL and JCCP (e.g., state

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 1    court litigants). The MDL/JCCP Parties will use best efforts to meet and confer and coordinate

 2    with such non-parties to maximize efficient use of time in the cross-noticed deposition and to

 3    minimize burden on the deponent, consistent with the provisions and purpose of this Order. In all

 4    events, the MDL/JCCP Parties shall have the full amount of deposition time allotted to them as

 5    set forth in this Court’s Discovery Limits Order.

 6           6.      To the extent there is an operative protocol or order in an outside proceeding that

 7    would apply to a cross-noticed deposition, the MDL/JCCP Parties will take reasonable steps and

 8    engage in good-faith efforts to coordinate with each other and the parties to that outside

 9    proceeding regarding the appropriate rules and procedures to follow in that deposition with the

10    goal of maximizing efficiency and minimizing burden to the deponent.

11           I.      Rule 30(b)(6) Depositions
12           1.      For the purposes of efficiency, all corporate representative depositions across the

13    MDL and JCCP and any other Related Action in which the deposition has been cross-noticed,

14    will take place as 30(b)(6) depositions. Any Rule 30(b)(6) deposition notice shall describe with

15    reasonable particularity the proposed matters for examination. It shall be narrowly-tailored to

16    assist the Noticing Party with identifying relevant discovery in the related proceedings.

17           2.      A Party that receives a notice of deposition under Rule 30(b)(6) may provide more

18    than one witness to address the Rule 30(b)(6) deposition notice.

19           J.      Objections and Directions Not to Answer
20           1.      Counsel shall comply with Fed. R. Civ. P. 30(c)(2) and the Northern District of

21    California Guidelines on Professional Conduct regarding objections at a deposition.

22           2.      Each side shall identify one (1) attorney responsible for making objections. Unless

23    otherwise specified, an objection by such Counsel shall be deemed an objection by all similarly

24    situated Counsel (i.e., all Plaintiffs or all Defendants) with no need to join in the objection.

25    However, unless otherwise specified, an instruction not to answer by Counsel should not be

26    deemed an instruction not to answer by any other similarly situated Counsel. Each Party retains

27    the right to make objections as appropriate.

28           3.      All objections, except those as to form, are reserved.

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 1           4.      If requested by the examining attorney, the objecting Party shall provide a

 2    sufficient explanation for the objection to allow the examining attorney to rephrase the question.

 3           5.      In accordance with Section D of this Court’s Standing Order for discovery in Civil

 4    Cases (effective June 1, 2023), private consultations between deponents and their attorneys on the

 5    record during the actual taking of the deposition are improper, except for the purpose of

 6    determining whether a privilege should be asserted. Unless prohibited by the Court for good

 7    cause shown, consultations may be held during normal recesses, adjournments (including

 8    overnight or over multiple days), or if there is a break in the normal course of examination and no

 9    questions are pending.

10           K.      Disputes During or Relating to Depositions
11           1.      Disputes between Parties should be resolved in accordance with Section D or H of

12    the Court’s Standing Order for Discovery in Civil Cases. If a dispute arises during a deposition,

13    prior to contacting the Court, the primary examining and primary defending attorneys at the

14    deposition must first meet and confer to attempt to resolve the issue. If the dispute remains, lead

15    trial counsel for the Party represented by each of these attorneys must also meet and confer (in

16    person if they are at the deposition or otherwise physically nearby each other, or by

17    videoconference) to attempt to resolve the issue. If the dispute remains, the Parties may then

18    contact the Court for an emergency telephonic hearing pursuant to Section D of the Court’s

19    Standing Order for Discovery. The Parties will alert the court reporter to be prepared to read the

20    deposition question and answer at issue to the Court during any such emergency hearing.

21           2.      Nothing in this Order shall deny Counsel the right to suspend a deposition

22    pursuant to Fed. R. Civ. P. 30(d)(3), file an appropriate motion with the Court at the conclusion of

23    the deposition, and appear personally before the Court. Notwithstanding this procedure, Counsel

24    are reminded of their professional responsibilities as officers of the Court and strongly

25    encouraged to make all efforts to resolve disputes through good-faith negotiations to minimize

26    involvement of the Court.

27           L.      Use of Confidential and Highly Confidential (Competitor) Information
28           1.      Access to, use, and designation of Confidential and Highly Confidential

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 1    (Competitor) testimony and information used in depositions will be governed by the Protective

 2    Order. Pursuant to paragraph 5.6 of the Protective Order, Counsel for any Producing Party shall

 3    have the right to exclude from oral depositions, other than the deponent and deponent’s Counsel,

 4    any person who is not authorized by the Protective Order to receive or access Protected Material

 5    during periods of examination or testimony regarding such Protected Material.

 6           M.      Joint Deposition Status Chart
 7           1.      Effective immediately and until further Order of this Court, the Parties shall

 8    submit a Joint Deposition Status Chart as an exhibit to the monthly Discovery Management

 9    Conference (“DMC”) Statement. The Joint Deposition Status Chart shall be formatted with

10    columns to identify the names (including titles, affiliations, last known contact information, and

11    other such identifying information, to the extent known by the listing Party) of each individual

12    witness to be deposed by a Party in this case. A Party identifying a witness to be deposed is

13    thereby representing to the Court and all Parties that the identifying Party reasonably expects in

14    good faith to depose each such witness in this case.

15           2.      The Joint Deposition Status Chart shall be regularly updated and exchanged by the

16    Parties, and at a minimum, the chart shall be updated as part of the process for drafting each

17    month’s DMC Statement. Prior to updating the chart for the DMC Statement each month, the

18    Parties shall meet and confer regarding scheduling and identifying proposed dates for all the

19    listed witnesses’ depositions, where the depositions shall be scheduled at times and dates within

20    the fact discovery period.

21           3.      The chart shall have columns identifying the date each identified witness was first

22    identified to the other Parties as a deponent, the Party who identified each such witness, and the

23    date(s) for each identified witness’s deposition.

24           4.      The Parties shall meet and confer in good faith to cooperate diligently in setting

25    dates for depositions and shall be prepared to report on the progress and status of scheduling

26    depositions at each DMC.

27           5.      The Parties shall follow this process for identifying witnesses in good faith, and

28    the Parties shall not abuse the process of identifying witnesses for deposition and shall not abuse

                                                          12
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 1    the Joint Deposition Status Chart (and related custodial file) procedure by over-designating and

 2    then later withdrawing persons to be deposed. The Parties shall be prepared to report to the Court

 3    at each month’s DMC how the process is working and whether any reasonable modifications

 4    need to be proposed. The Court will consider modifications to this process as appropriate, and

 5    may impose sanctions for abuse of this deposition process..

 6           6.      As an incentive for the Parties to disclose witnesses each side intends to depose

 7    and thus start the discussion as to scheduling depositions as early as possible:

 8           a)      If a Party first identifies a witness for deposition on or before April 30, 2024, that

 9           identifying Party shall be permitted one (1) hour of additional deposition time for that

10           identified witness, where that additional one hour (if taken) shall not be counted against

11           that identifying Party’s cumulative time limits allocated for depositions.

12           b)      Absent agreement between the Parties, that additional one hour, if unused for that

13           particular witness, shall not carry over to another witness, and that additional one hour is

14           “additional” in the sense that the deposing Party can take one more hour of deposition of

15           that witness over and above the total time that Party could otherwise take under the

16           Court’s prior hours limits per deposition. For example, as the Court stated at the March

17           18, 2024 hearing, if a Party has a twelve-hour time limit for a deposition of a witness

18           under the existing discovery limits, that Party can take a total of thirteen hours of

19           deposition time for that witness if that witness is identified by April 30, 2024 (but if that

20           Party only uses, for example, six hours of deposition time for that witness, even though

21           that Party could have taken up to twelve hours, then the additional hour is unused and

22           does not subtract from the six hours actually used for purposes of calculating how much

23           time a Party has used for their total cumulative deposition hours allocated).

24           c)      Following the same process explained in M.6(a)-(b), if a Party first identifies a

25           witness for deposition on or before May 31, 2024, that identifying Party shall be permitted

26           forty-five (45) minutes of additional deposition time for that identified witness, where that

27           additional forty-five minutes shall not be counted against that identifying Party’s

28           cumulative time limits allocated for depositions.

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 1           d)         If a Party first identifies a witness for deposition on or before June 30, 2024, that

 2           identifying Party shall be permitted thirty (30) minutes of additional deposition time for

 3           that identified witness, where that additional thirty minutes shall not be counted against

 4           that identifying Party’s cumulative time limits allocated for depositions.

 5           7.         A Party shall identify a witness for deposition and thus for placement on the Joint

 6    Deposition Status Chart in writing to all Parties (either by email, fax, overnight express delivery

 7    service, or by First Class mail with return receipt requested) by providing at least the first and last

 8    name of the witness, their title (or last known title) or position if known, the Defendant who either

 9    employs or employed them or with whom they are affiliated for purposes of discovery in this

10    MDL (or, if they are not affiliated with a Defendant, their current employer if known), and their

11    contact information (or last known contact information) if known. The date that a witness was

12    identified for purposes of the chart shall be the date of receipt of the writing identifying that

13    witness. Counsel for the Party with whom the witness is or was affiliated shall promptly confirm

14    to all Parties the date of receipt of the writing. A Party which receives a writing identifying a

15    witness which that receiving Party believes to be incomplete or inaccurate shall promptly and in

16    good faith meet and confer with the identifying Party to correct any information concerning that

17    witness for accuracy of the chart and for reasonable planning for depositions. The Parties shall

18    cooperate in drafting the Joint Deposition Chart to agree upon and insert the date each witness

19    was identified.

20           8.         The Parties shall meet and confer to discuss swapping any additional time from

21    depositions of minors to other witnesses, where appropriate, to limit the amount of deposition

22    time for witnesses who are minors.

23           N.         Documents Used in Connection with Depositions
24           1.         Custodial Files. The custodial file for each deponent identified in the Joint

25    Deposition Status Chart shall be produced by the Party by whom that deponent is (or was)

26    employed (or by the Party who is otherwise representing that deponent for purposes of discovery

27    in this case) within sixty (60) days after each such person is identified for inclusion in the Joint

28    Deposition Status Chart. The Parties shall cooperate in good faith to discuss extensions of time

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 1    for such productions of custodial files. If, after following the Court’s dispute resolution

 2    procedures for discovery disputes, the Parties cannot resolve a dispute concerning production of a

 3    custodial file, the Parties shall file a Joint Discovery Letter discussing the issue in dispute

 4    regarding timing of such production. As noted at the March 18, 2024 hearing and to provide the

 5    Parties guidance, the Court will grant reasonable extensions of time to complete a production for

 6    good cause shown. The Joint Deposition Status Chart shall include a column identifying the date

 7    on which production of the custodial file for each identified witness has been produced 4.

 8             2.    Production of Documents by Third-Party Witnesses. Third-party witnesses

 9    subpoenaed to produce documents shall, to the extent possible, be served with the document

10    subpoena at least thirty (30) calendar days before a scheduled deposition, with a copy of the

11    subpoena served as required by Fed. R. Civ. P. 45.

12             3.    Copies. Hard copies of documents which the examining attorney expects to use to

13    examine a deponent should be provided to primary Counsel for the Parties and the deponent

14    during the course of any in-person deposition.

15             4.    Objections to Documents. Objections to the relevance or admissibility of

16    documents used as deposition exhibits are not waived and are reserved for later ruling by the

17    Court.

18             5.    Translation of Documents. Objections as to the accuracy of any translations of

19    documents shall be reserved unless a stipulation is reached by the Parties in advance of the

20    deposition.

21             6.    Confidential and Highly Confidential (Competitor) Documents. Nothing in this

22    Order modifies or reduces the obligations of the Parties as it pertains to disclosure of Highly

23    Confidential (Competitor) documents to third parties, including deponents, which shall be

24    governed by the Protective Order.

25             7.    Marking of Deposition Exhibits. Unless otherwise agreed, each document referred

26    to at a deposition shall be referred to by its alpha-numeric production number except in the case

27    4
        The production date provided in the Deposition Status Chart does not preclude limited follow-
      on document productions, such as the production of documents downgraded during privilege
28    review and the production of redacted documents.

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 1    of documents which have not yet received production numbering at the time of the deposition.

 2    Documents that are produced in native format shall have the slip sheet with the Bates number

 3    affixed to the front of the document. Counsel shall use best efforts to mark exhibits sequentially

 4    during each deposition and across depositions, consistent with Northern District of California

 5    Local Rule 30-2.

 6           O.      Video Depositions
 7           1.      All depositions will be recorded by videotape or digitally recorded video pursuant

 8    to Fed. R. Civ. P. 30(b)(3) unless the Noticing Party expressly states in the deposition notice that

 9    the deposition will not be video recorded or otherwise agreed-to by the Parties. Where a non-

10    Noticing Party wishes to video record the proceeding, a notice to video record the deposition shall

11    be submitted in writing to all Parties no later than seven days before the date on which the

12    deposition is scheduled to occur. The Party wishing to video record the deposition, if not

13    originally noticed as such, shall be responsible for arranging and paying for the video recording.

14    Video recorded depositions shall be subject to the following rules:

15           a)      Video Operator. The operator(s) of the video recording equipment shall be subject

16           to the provisions of Fed. R. Civ. P. 28(c). At the commencement of the deposition, the

17           operator(s) shall swear or affirm to record the proceedings fairly and accurately.

18           b)      Index. The video record operator shall use a counter on the recording equipment,

19           and after completion of the deposition shall prepare a log, cross-referenced to counter

20           numbers, that identifies the counter number on the tape where examination by different

21           Counsel begins and ends, where objections are made and examination resumes, where

22           exhibits are identified, and where an interruption of continuous tape-recording occurs,

23           whether for recesses, “off-the-record” discussions, mechanical failure, or otherwise.

24           c)      Attendance. Each witness, attorney, and other person attending the deposition shall

25           be identified on the record at the commencement of the deposition. To the extent any

26           person joins attendance of a deposition after its commencement, such person shall be

27           identified on the record prior to or immediately following the next recess.

28           d)      Standards. Unless physically incapacitated, the deponent shall be seated at a table

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 1           except when reviewing or presenting demonstrative materials for which a change in

 2           position is needed. If the deponent is a Party or affiliated with a Party, the defending Party

 3           shall be responsible for ensuring that the deposition will be conducted in an appropriate

 4           setting, against a solid background with only such lighting as is required for accurate

 5           video recording; if the deponent is a third party, the Noticing Party shall have this

 6           responsibility. Lighting, camera angle, lens setting, and field of view will be changed only

 7           as necessary to record accurately the natural body movements of the deponent. Sound

 8           levels will be altered only as necessary to record satisfactorily the voices of Counsel and

 9           the deponent. The witness shall appear in ordinary business attire (as opposed to, for

10           instance, a lab coat) and without objects such as a bible, medical equipment, or other

11           props. The video recording shall include the court reporter administering the oath or

12           affirmation to the witness. Thereafter, the deponent and, if necessary, exhibits and any

13           demonstratives will be videotaped.

14           e)      Filing and Preservation. After the deposition is completed, the video operator shall

15           certify on camera the correctness, completeness, and accuracy of the video recording in

16           the same manner as a stenographic court reporter, and file a true copy of the video record,

17           the transcript, and the certificate with Counsel for whomever noticed the deposition.

18           f)      Protective Order. No part of the video or audio recording of a video deposition

19           shall be released or made available to any member of the public, except for use in these

20           proceedings in accordance with the terms of the Protective Order.

21           P.      Remote/Virtual Depositions
22           1.      For depositions noticed as in-person, participating attorneys (i.e., those examining

23    or defending) and witnesses are expected to attend that deposition in-person rather than remotely

24    (except by agreement of the Parties, or by operation of section II.O.2, or by order of the Court).

25    For depositions noticed as virtual (“Remote Deposition”), attorney(s) defending the deposition

26    (and, if the witness has separate representation, the witness’ Counsel) may be present with the

27    witness, and such Counsel must alert the Noticing Party seven business days in advance of the

28    deposition and must be present on camera at all times that the witness is. Regardless of whether a

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 1    deposition is taken in person or is a Remote Deposition, the Noticing Party shall make

 2    arrangements to have each deposition video conferenced, so that all other persons who are

 3    permitted to attend a deposition under Section I.B, of this Order may attend the deposition via

 4    Zoom or a similar videoconferencing platform.

 5           2.      By indicating in its notice of deposition that it wishes to conduct a Remote

 6    Deposition, a Party shall be deemed to have moved for such an order under Fed. R. Civ. P.

 7    30(b)(4). Unless an objection is filed and served within ten (10) calendar days after such notice is

 8    received, the Court shall be deemed to have granted the motion.

 9           3.      To avoid any potential disruptions of a Remote Deposition, those attending shall

10    silence notifications for applications not in use, including but not limited to instant messaging

11    and/or e-mail notifications. The Court recognizes that the microphones for certain attendees (such

12    as the witness, the court reporter, the attorney taking the deposition, and the attorney defending

13    the deposition) must remain on when the deposition is on the record. Other attendees should mute

14    microphones when not speaking. All examining attorneys and all attorneys defending the

15    depositions must be visible to all other participants during the deposition.

16           4.      During the deposition examination, no person attending the deposition, or anyone

17    acting on their behalf, shall be permitted to communicate with the witness by any means not

18    recorded in the same manner as the deposition itself (e.g., no text or email exchanges with the

19    witness and no additional means of communicating with the witness, such as an additional

20    computer or tablet). However, the witness’s Counsel may communicate with the witness,

21    including telephonically, by other electronic means, or directly (if he or she is present with the

22    witness), during breaks as consistent with FRCP 30(c)(1) and other applicable law.

23           5.      If any privileged information is disclosed during a Remote Deposition due to a

24    technical disruption, or to the extent any privileged conversation between a witness and his or her

25    Counsel is inadvertently heard by any other Party and/or captured by any recording device, such

26    disclosure shall not be deemed a waiver of privilege.

27           6.      Use of Electronic and Hard Copy Exhibits in Remote Depositions. Counsel taking

28    a Remote Deposition shall use electronic exhibits pursuant to the following provisions:

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 1           a)      For any exhibit presented electronically, the exhibit must be made available to the

 2           deponent to review in its entirety, the witness must be afforded the independent ability to

 3           review the exhibit in its entirety, and the witness must be afforded the independent ability

 4           to control manipulation of the document (scrolling, etc.) to facilitate that review. Full

 5           electronic copies of the exhibit must be transmitted to all Participants, and received by

 6           them, before questioning begins on the exhibit. The attorney using the exhibit will be

 7           responsible for providing the marked original to the court reporter.

 8           b)      If a questioning Party wishes also to show or share an electronic version of an

 9           exhibit during the course of the deposition, it may do so, but, the witness may not be

10           required to review a document on the screen if he or she chooses instead to review the

11           downloaded electronic document on their own.

12           c)      While the default assumption shall be that electronic exhibits will be used in most

13           instances, the Parties agree to work in good faith to reach agreements regarding the

14           provision of hard copy exhibits to a deponent on request. To the extent hardcopy exhibits

15           are provided to the deponent, the package containing the documents shall be sealed, and

16           the witness shall unseal it only when asked to do so on the record at the deposition.

17           7.      Defending lawyers and the witness shall take appropriate steps in advance of the

18    deposition to ensure that the witness is reasonably capable of using the Remote Deposition

19    technology, which can be satisfied by arranging a test of the witness’s video/audio equipment and

20    internet connection in advance of the deposition by the vendor retained for the Remote

21    Deposition.

22           Q.      Stipulation Regarding the Transcript
23           1.      Depositions of Parties. Unless otherwise agreed, the following stipulation shall

24    apply to all depositions taken of Parties and Party-affiliated witnesses and shall be included in

25    each transcript by the court reporter:

26           Upon completion of the transcription of this deposition, the original transcript shall be
             sent to Counsel for the witness by the court reporter. Counsel shall promptly forward it to
27           the witness for review, correction, and signature under penalty of perjury. Within 45 days
             of receiving the final transcript from the court reporter, the witness’ Counsel shall forward
28           the original transcript plus corrections to the court reporter, who will promptly notify all

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 1            Counsel who questioned the witness and all Counsel who requested a certified copy of the
              transcript of its receipt and any changes made by the witness. The Parties may shorten this
 2            time period by agreement and, if the Parties cannot agree, the Party seeking a shortened
              time period may seek relief from the Court.
 3

 4            2.         If a Party or Party-affiliated witness is not represented by Counsel, the original

 5    transcript will be sent to the witness by the court reporter. After review, correction, and signature

 6    within 45 days from the date of receipt, the witness shall return the original transcript to the court

 7    reporter, who will notify all Counsel of its receipt and any changes to testimony made by the

 8    witness. The Parties may shorten this time period by agreement and, if the Parties cannot agree,

 9    the Party seeking a shortened time period may seek relief from the Court.

10            3.         The court reporter will provide the original transcript to the first examining

11    attorney. That attorney shall be responsible for maintaining the original transcript and will make it

12    available for any hearings or trials upon reasonable request by another Party. In the event the

13    original transcript is lost, stolen, or otherwise unavailable, a certified copy reflecting any changes

14    made to the original transcript may be used in place of the original.

15    4.      Depositions of Third-Party Witnesses. The stipulation set forth above shall be proposed to

16    Counsel for any third-party witness, or, if such witness is not represented by Counsel, to the

17    witness.

18    III.    USE OF DEPOSITIONS
19            1.         This Order does not address the admissibility for trial purposes of any testimony

20    taken by deposition. Determinations on the admissibility of any such testimony shall be made by

21    the trial court.

22            2.         Third parties in any other cases (such as a Related Action) who seek copies of a

23    deposition transcript from this MDL (such as by way of discovery in such other cases) shall first

24    agree to be bound by the Protective Order governing this case (by signing Exhibit A to the

25    Protective Order) or by a substantially similar Protective Order in that other Related Action

26    before receipt of any such deposition transcript and shall treat any such deposition transcript

27    pursuant to the terms of the applicable Protective Order. To the extent copies of a deposition

28    transcript from this MDL are sought from a Party other than the Designating Party under the

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 1    Protective Order, Counsel for the Party receiving such request shall notify the Designating Party

 2    of the request before producing the transcript.

 3    IV.    AMENDMENTS TO THIS ORDER
 4           1.      Minor amendments and changes to this Order for any deposition, such as the time

 5    allotted for questioning, dates, and Counsel permitted to attend depositions, may be made by

 6    agreement of the Parties without further order of the Court. All such minor amendments shall be

 7    placed on the record at the beginning of the deposition or as soon as practicable. Changes to the

 8    terms of this Order that apply to the procedure as a whole shall be brought to the Court after the

 9    Parties first meet and confer in good faith.

10    V.     FEDERAL RULES OF CIVIL PROCEDURE APPLICABLE
11           1.      The Federal Rules of Civil Procedure and Federal Rules of Evidence shall apply to

12    the taking of depositions pursuant to this Order unless specifically modified herein.

13

14    IT IS SO STIPULATED, through Counsel of Record.

15    DATED: April 3, 2024                           Respectfully submitted,

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12
      IT IS SO ORDERED that the foregoing Stipulation is approved.
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14
      DATED: April 3, 2024                   _____________________________________
15
                                               HONORABLE PETER H. KANG
16                                            United States District Court Magistrate Judge

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 1                            APPENDIX A – META RELATED ACTIONS

 2    Meta lists below the litigations within the scope of Related Actions*:

 3       •   State of Arkansas, ex rel. Tim Griffin, Attorney General v. Meta Platforms, Inc.; Facebook

 4           Holdings, LLC; Facebook Operations, LLC; Meta Payments Inc.; Facebook

 5           Technologies, LLC; Instagram, LLC; and Siculus, Inc., Case No. 57CV-23-47 (Arkansas

 6           Circuit Court, Polk County).

 7       •   District of Columbia v. Meta Platforms, Inc. and Instagram, LLC, Case No. 2023 CAB

 8           006550 (D.C. Superior Court).

 9       •   Commonwealth of Massachusetts v. Meta Platforms, Inc. and Instagram, LLC, Case No.

10           2384CV02397 (Massachusetts Superior Court, Suffolk County).

11       •   State of Mississippi, ex rel. Lynn Fitch, Attorney General v. Meta Platforms, Inc.;

12           Instagram, LLC; Meta Payments, Inc., and Meta Platforms Technologies, LLC, Case No.

13           25CH1:23-cv-01205 (Mississippi Chancery Court, First Judicial District).

14       •   State of New Hampshire v. Meta Platforms, Inc., and Instagram, LLC, Case No. 217-

15           2023-CV-00594 (New Hampshire Superior Court, Merrimack, SS).

16       •   State of Oklahoma, ex rel. Gentner Drummond, Attorney General of Oklahoma v. Meta

17           Platforms, Inc., and Instagram, LLC, Case No. CJ-2023-00180 (Oklahoma District Court,

18           Osage County).

19       •   State of Tennessee, ex rel. Jonathan Skrmetti, Attorney General and Reporter v. Meta

20           Platforms, Inc., and Instagram, LLC, Case No. 23-1364-IV (Tennessee Chancery Court,

21           Davidson County).

22       •   Utah Division of Consumer Protection v. Meta Platforms, Inc., and Instagram, LLC, Case

23           No. 230908060 (Utah Third District Court, Salt Lake County).

24       •   State of Vermont v. Meta Platforms, Inc., and Instagram, LLC, Case No. 23-CV-04453

25           (Vermont Superior Court, Chittenden County).

26       •   State of New Mexico, ex rel. Raul Torrez, Attorney General v. Meta Platforms, Inc.;

27           Instagram, LLC; Meta Payments Inc.; Meta Platforms Technologies, Inc; and Mark

28           Zuckerberg, Case No. D-0101-CV-202302838 (New Mexico First Judicial District Court,

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 1           Santa Fe County).

 2       •   State of Nevada v. Meta Platforms, Inc., and Instagram, LLC, Case No. A-24-886110-B

 3           (Nevada District Court, Clark County).

 4       •   State of Nevada v. Meta Platforms, Inc., and Instagram, LLC, Case No. A-24-886115-B

 5           (Nevada District Court, Clark County).

 6       •   State of Nevada v. Meta Platforms, Inc., and Instagram, LLC, Case No. A-24-886120-B

 7           (Nevada District Court, Clark County).

 8       •   M.G. v. Meta Platforms, Inc.; Instagram, LLC; Facebook Payments, Inc.; Siculus, Inc.;

 9           Facebook Operations, LLC; and Tory Dwanell Saidstuart , Case No. 3:23-cv-01861 (D.

10           Or.).

11       •   Norma Nazario, individually and as Administrator of the Estate of Zackery Nazario v.

12           Bytedance LTD.; Bytedance, INC.; TikTok, Inc.; Meta Platforms, Inc., Metropolitan

13           Transportation Authority, and New York City Transit Authority, Case No. 0151540/2024

14           (N.Y. Supreme Ct., New York County).

15    *Upon agreement between the Plaintiffs and Meta, this list may be updated without leave of

16    Court and by serving it on all Parties.

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 1                              APPENDIX B – SNAP RELATED ACTIONS

 2    Snap lists below the litigations within the scope of Related Actions*:

 3       •   State AG Nevada v. Snap, Inc., A-24-886113-B (Nevada District Court, Clark County)

 4       •   Kennedy Harris, et al v. Snap, 05251 LACV044283 (Iowa District Court, Dallas County)

 5       •   Linda Blea v. Snap, D-412-CV-2022-00236 (New Mexico – 4th Judicial District, San

 6           Miguel County)

 7       •   V.V. and E.Q., individually and as next friends to minor C.O., v. Meta, et al., FBT-CV-23-

 8           5050779-S (Conn. Superior Court, Judicial District of Fairfield at Bridgeport); 3:23-cv-

 9           00284-SVN (D. Conn.); UWYCV235032685S (Conn. Superior Court, Complex -

10           Waterbury Dist.)

11       •   Cody Dahl and Tonya Cole Dahl v. Alphabet, Inc., et al., 4:23-cv-9472 (W.D. Tex.)

12    * Upon agreement between the Plaintiffs and Snap, this list may be updated without leave of

13    Court and by serving it on all Parties.

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 1                           APPENDIX C – TIK TOK RELATED ACTIONS

 2    TikTok lists below the litigations within the scope of Related Actions*:

 3       •   Nasca, et al. v. ByteDance Ltd., et al., No. 2:23-cv-02061 (E.D.N.Y.)

 4       •   Anderson, et al. v. TikTok Inc., et al., No. 2:22-cv-01849-PD (E.D. Pa.), appeal docketed,

 5           No. 22-3061 (3d Cir.)

 6       •   Bogard, et al. v. TikTok Inc., et al., No. 3:23-cv-00012 (S.D. Ind.)

 7       •   Nazario, et al. v. ByteDance Ltd., et al., No. 151540/2024 (New York Supreme Court,

 8           New York County)

 9       •   Nevada v. TikTok Inc., et al., No. A-24-886127-B (Nevada District Court, Clark County)

10       •   Utah v. TikTok Inc., et al., No. 230907634 (Utah Third District Court, Salt Lake County)

11       •   Arkansas v. TikTok Inc., et al., No. 12CV-23-65 (Arkansas Circuit Court, Cleburne

12           County)

13       •   Iowa v. TikTok Inc., et al., No. 24-1522 (Iowa District Court, Polk County)

14       •   Kansas v. TikTok Inc., et al., (Kansas District Court, Shawnee County)

15       •   Indiana v. TikTok Inc., et al., No. 23A-PL-03110 (Ind. Ct. App.)

16    * Upon agreement between the Plaintiffs and TikTok, this list may be updated without leave of

17    Court and by serving it on all Parties.

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 1                          APPENDIX D –YOUTUBE RELATED ACTIONS

 2    YouTube lists below the litigations within the scope of Related Actions*:

 3       •   Cody Dahl et al. v. Alphabet, Inc. et al., Case No. 1:23-cv-01496 (W.D. Tex.) (removed

 4           December 11, 2023)

 5    * Upon agreement between the Plaintiffs and YouTube, this list may be updated without leave of

 6    Court and by serving it on all Parties.

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 1                                            ATTESTATION

 2           I, Jesse S. Krompier, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the

 3    concurrence to the filing of this document has been obtained from each signatory hereto.

 4

 5    Dated: April 3, 2024                         /s/ Jesse S. Krompier
                                                   Jesse S. Krompier
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